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                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE

    In re:
                                                                  Chapter 11
    WILLIAMS INDUSTRIAL SERVICES
    GROUP INC., et al.,1                                          Case No. 23-10961 (BLS)

                                                                  (Jointly Administered)
              Debtors.
                                                                  Related Docket No. 193

                          ORDER EXTENDING TIME FOR DEBTORS TO FILE
                                 SCHEDULES AND STATEMENTS

             Upon the motion (the “Motion”)2 of the Debtors for an order (this “Order”), pursuant to

sections 105(a) and 521 of the Bankruptcy Code, Bankruptcy Rules 1007(c) and 9006, and Local

Rules 1007-1(b) and 9006-2, granting the Debtors additional time to file their Schedules and

Statements; and upon consideration of the First Day Declaration; and this Court having jurisdiction

over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of

Reference from the United States District Court for the District of Delaware, dated February 29,

2012; and this Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2),

and that this Court may enter a final order consistent with Article III of the United States

Constitution; and this Court having found that venue of this proceeding and the Motion in this

district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and due and sufficient notice of the




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             The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
             number, include: Williams Industrial Services Group Inc. (1378), Williams Industrial Services Group, LLC
             (2666), Williams Industrial Services, LLC (0406), Williams Plant Services, LLC (9575), Williams Specialty
             Services, LLC (9578), WISG Electrical, LLC (6918), Construction & Maintenance Professionals, LLC
             (0925), Williams Global Services, Inc. (3708), Steam Enterprises, LLC (9177), GPEG LLC (5707), Global
             Power Professional Services, Inc. (2550), WISG Canada Ltd. (B.N. 6518), WISG Nuclear Ltd. (B.N. 3510),
             and WISG Electrical Ltd. (B.N. 2116). The location of the Debtors' corporate headquarters and service
             address is: 200 Ashford Center N, Suite 425, Atlanta, GA 30338.
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             Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Motion
             or First Day Declaration, as applicable.


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Motion having been given under the particular circumstances; and upon the record and all

proceedings before this Court; and it appearing that no other or further notice is necessary; and it

appearing that no other or further notice is necessary; and it appearing that the relief requested in

the Motion is in the best interests of the Debtors, their estates, their creditors, and other parties in

interest; and after due deliberation thereon; and good and sufficient cause appearing therefor; it is

hereby;

    ORDERED, ADJUDGED, AND DECREED THAT:

         1.    The Motion is GRANTED as set forth herein.

         2.    The deadline by which the Debtors must file their respective Schedules and

Statements as required by Bankruptcy Rule 1007 is hereby extended through and including

September 18, 2023.

         3.    The relief granted by this Order is without prejudice to the Debtors’ right to seek

further extensions of time to prepare and file their Schedules and Statements.

         4.    All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).

         5.    The Debtors are authorized and empowered to take all actions necessary to

implement the relief granted in this Order.

         6.    This Court shall retain exclusive jurisdiction with respect to all matters arising from

or related to the implementation, interpretation, or enforcement of this Order.




Dated: September 18th, 2023                        BRENDAN L. SHANNON
Wilmington, Delaware                               UNITED STATES BANKRUPTCY JUDGE




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